  

Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 1 of 20
USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below:

 
  
 

U.S. Department of Justice PROCESS RECEIPT AND RETURN

See “Instructions for Service of Process by U.S. Marshal"

United States Marshals Service

 

 

PLAINTIFF ; COURT CASE NUMBER

SE Property Holdings, LLC Mise. Action 14-8-KD-M 14 “C¥-0000°-K
DEFENDANT TYPE OF PROCESS

Unified Recovery Group, LLC, et al gamishment

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J HANCOCK BANK, c/o reg. agent CT Corporation System
ADDRESS (Street er RFD, Apartnent No., City, State and ZIP Code)

2 North Jackson Street, Suite 605, Montgomery, AL 36104

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

 

cata L. Fontenot, Esq.
PO Box 1281

Mobile, AL 36633

L_

served with this Form 285 l

 

Number of parties to be
served in this case 1

 

Check for service
on U.S.A.

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):
Fold

 

please serve by certified mail

Fold

 

 

 

 

 

 

| Signature of Allorn ver Originator requesithg service on behalf of: [<)_ PLAINTIFF TELEPHONE NUMBER DATE
be? (SE) 0 DEFENDANT —| 251-445-2083 8/5/14
| SPACE BELOW FOR USE OF USYMARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE:

 

Tacknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk

| number of process indicated. Origin Serve
(Sign only for USM 285 if more

 

 

 

 

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than one USM 2835 is submitted) 32 No. 03 No. 0% pimeda — trate

 

 

 

 

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C) thereby certify and return that Lam unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if not shown above)

C) A person of suitable age and discretion
then residing in defendant's usual place
of abode

 

Address (complete only different than shown above)

Date Time
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8-15-14 Cai

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Service Fee Total Mileage Charges] Forwarding Fee Total Charges Advance Deposits

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Amount owed to U.S. Marshal* or
(Amount of Refimd*)

 

$0.00

 

REMARKS: (ej) ficdmm ay |
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PIANEE Re Uke | CLERK OF THE COURT

2. USMS RECORD

ri NOTICE OF SERVICE

4. BILLING STATEMENT!: To be retumed to the U.S, Marshal with payment,
if any amount is owed. Please remit promptly payable to U.S. Marshal.

5. ACKNOWLEDGMENT OF RECEIPT

PRIOR EDITIONS MAY BE USED

Form USM-285
Rev, 12/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 2 of 20

  
 
      

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# Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired. AR C1 Agent

@ Print your name and address on the reverse O Addressee: |

so that we can return the card to you. B. Received by (Printed Name) i |

® Aitach this card to the back of the mailpiece, lila a x ly, ye

or on the front if space permits. OF: 44

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1. Article Addressed to: If YES, enter delivery address below: 1 No

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CT Corporation Sy Hern ine |

2 North Jackson St, Suik 0 3. Service Type
L 3) 0Y CQ Certified Mail? 1 Priority Mail Express™

Mentgom or 4 ) A fo] CO Registered (1 Return Receipt for Merchandise [

C1 Insured Mait [1 Collect on Delivery

4, Restricted Delivery? (Extra Fee) Yes

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2. Article Number = 7013 2250 OOOL @b0b 8052

(Transfer from sé

 

 

PS Form 3811, July 2013 Domestic Return Receipt
   

PLAINTIFF

’ U.S. Department of Justice
United States Marshals Service

SE Property Holdings, LLC

Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 3 of 20

PROCESS RECEIPT AND RETURN

See "Instructions for Service of Process by U.S. Marshal"

COURT CASE NUMBER

DEFENDANT

Unified Recovery Group, LLC, et al

Misc. Action 14-8-KD-M /4-C/-(0g08-KS

TYPE OF PROCESS
garnishment

 

SERVE
AT

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC, TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

AMERICAN GENERAL INSURANCE CO, e/o reg. agent CSC Lawyers Incorporating SVC Inc.
ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

150 S. Perry St., Montgomery, AL 36104

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

[

Gilbert L. Fontenot, Esq.
PO Box 1281
Mobile, AL 36633

L_

Number of process to be
served with this Fonn 285 | 1

 

Number of parties to be
served in this case 1

 

Check for service
on U.S.A,

 

 

SPECLAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (uclude Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Fold

 

please serve by certified mail

Fald

 

 

Signature of Attormey other Origipater 3 service on behalf of:

[] PLAINTIFF
CJ DEFENDANT

 

TELEPHONE NUMBER DATE

251-445-2083 8/5/14

 

 

 

SPACE BELOW FOR oa OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

 

T acknowledge receipt for the total
number of process indicated.
(Sign only for USM 285 ifmore
than one USM 2835 is submitted)

 

 

 

 

Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date =
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on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

C1 thereby certify and retum that | am unable to locate the individual, company, corporation, etc, named above (See remarks below)

Name and title of individual served (ifnot shown above)

C1 A person of suitable age and discretion
then residing in defendant's usual place

 

 

 

 

 

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Address (complete only different than shown above) Date Time q:
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igngture of U/S. Marshal or Deputy
Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to US. Marshal* or D
& 2 tO including endeavors) 4 g go (Amount of Refund*)

 

 

 

 

 

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REMARKS: Certified mai |

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PRINTS COPIES

1. CLERK OF THE COURT

2. USMS RECORD

3. NOTICE OF SERVICE

4. BILLING STATEMENT®: To be returned to the U.S, Marshal with payment,
ifany amount is owed. Please remit promptly payable to U.S. Marshal.

5. ACKNOWLEDGMENT OF RECEIPT

PRIOR EDITIONS MAY BE USED

Form USM-285
Rev, 12/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 4 of 20

 
     

Cea is Bere ON: Taha

Complete items 1, 2, and 3. Also complete A. Signature

 

item 4 if Restricted Delivery is desired. X Q, \ \ CD Agent
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or on the front if space permits.

 

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J, Ailes Addceesad te: If YES, enter delivery address below: [No

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; 3. Service Type
(50 Sout, Peery or CO Certified Mail? (1 Priority Mail Express™

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4, Restricted Delivery? (Extra Fee) Yes
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PS Form 3871, July 2013 Domestic Return Receipt oo _
 
   

Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 5 of 20
USM-285 is a 5-part form.” Fill out the form and print 5\copies. Sign’as needed and route as specified below. ©

  

U.S. Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service

See “Instructions for Service of Process by U.S. Marshal"

 

 

 

PLAINTIFF . COURT CASE NUMBER

SE Property Holdings, LLC Misc. Action 14-8-KD-M [4-CV/- Q(nog-
DEFENDANT TYPE OF PROCESS

Unified Recovery Group, LLC, et al garnishment

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J AMERIS BANK, c/o reg. agent CT Corporation System
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

2 North Jackson Street, Suite 605, Montgomery, AL 36104

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

 

[

Gilbert L. Fontenot, Esq.
PO Box 1281
Mobile, AL 36633

Number of process to be

 

served with this Form 285 | 1
Number of parties to be
served in this case 1

 

Check for service
on U.S.A.

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (/aclude Business and Alternate Addresses,

All Telephone Numbers, and Estimated Times Available for Service):
Fold

please serve by certified mail

 

 

Signature of Attorney other Ator requesting service on be IX] PLAINTIFE
LC] DEFENDANT

 

TELEPHONE NUMBER

251-445-2083

DATE

8/5/14

 

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE™. ni

 

I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk

(Sign only for USM 285 if more

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than one USM 285 is submitted) 32

 

 

 

 

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Date =
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Name and title of individual served (i/nof shown above)

of abode

(1 A person of suitable age and discretion
then residing in defendant's usual place

 

Address (complete only different than shown above)

Date

6-15-14

 

Time

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Service Fee Total Mileage Charges] Forwarding Fee Total Charges Advance Deposits
including endeavors)

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(Amount of Refund*)

 

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Amount owed to U. &. Marshal* or

 

REMARKS: 00 - +) fi ed may |
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iivweesjuiasy i, CLERK OF THE COURT

2. USMS RECORD

3. NOTICE OF SERVICE

4, BILLING STATEMENT*: To be retumed to the U.S. Marshal with payment,
ifany amount is owed. Please remit promptly payable to U.S. Marshal.

5. ACKNOWLEDGMENT OF RECEIPT

PRIOR EDITIONS MAY BE USED

Fonn USM-285
Rev. 12/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 6 of 20

 
 
          

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Nae ede tea lense
EH Complete items 1, 2, and 3. Also complete

: ; Is AL Sigg sure
item 4 if Restricted Delivery is desired. 1x O Agent
@ Print your name and address on the reverse OO Addresses

 

 

so that we can return the card to you. B. Received by (Printed Nama} C. Date of Delivery |
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or on the front if space permits. —

 

 

D. Is delivery address different from item 1? 1 Yes

1. Article Addressed to: If YES, enter delivery address below: [1 No

 

 

 

 

 

 

 

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_PS Form 3811, July2013 Domestic Return Recsipt
 

Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 7 of 20 (1d.
USM-285 iS a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.

 

 

U.S. Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See “Instructions for Service of Process by U.S. Marshal"

 

PLAINTIFF , COURT CASE NUMBER
SE Property Holdings, LLC Misc. Action 14-8-KD-M [V-C V-Oo?- RD
DEFENDANT

 

TYPE OF PROCESS

Unified Recovery Group, LLC, et al garnishment

 

BRANCH BANKING & TRUST COMPANY, c/o reg agent CT Corporation System,

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE
AT ADDRESS (Street or RFD, Apartment No., City, State and ZLP Cade)

2 North Jackson Street, Suite 605, Montgomery, AL 36104

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form285 | 1
| Gilbert L. Fontenot, Esq. Number of parties to be
PO Box 1281 served in this case 1
Mobile, AL 36633
Check for service
| on U.S.A,

 

 

 

All Telephone Numbers, and Estimated Times Available for Service):
Fold

please serve by certified mail

 

 

Signature of Attomey othe) inator requesting ce on behalf or ” DB) PLAINTIFF ‘TELEPHONE NUMBER DATE
C DEFENDANT 251-445-2083 8/5/14

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE=

 

 

 

 

 

 

 

 

 

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number of process indicated. | ¢ t/ Origin Serve . ond
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(Ct Thereby certify and retum that [ am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (ifnof shown above) A person of suitable age and discretion
then residing in defendant's usual place
_ of abode
Address (coinplete only different than shown above) Date

 

Time
oO am
B-IS-14 C] pm

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Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
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REMARKS: Cech Ci2d mas \
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Malhyeeaag wisn |. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD

3. NOTICE OF SERVICE
4, BILLING STATEMENT*: To be retumed to the U.S. Marshal with payment,

ifany amount is owed. Please remit promptly payable to U.S, Marshal. Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT Rev, 12/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 8 of 20

  
  

SENDER: COMPLETE THIS SECTION

 

BH Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

O Agent
@ Print your name and address on the reverse OD Addressee _|

so that we can return the card to you. B. Received by (Printed Name) “| C. Date of Delive
B Attach this card to the back of the mailpiece, me } On Y
or on the front if space permits.

1. Article Addressed to:

Branch Banking + Trust Company
Cle 6&5 agent

 

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lf YES, enter delivery address below: [No
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| Site LOS 3. Service Type
2 North Jelksen S+ oui CO Certified Mail? 1 Priority Mail Express™”
C1 Registered [1 Return Receipt for Merchandise
Montrgornrer') je 3104 E1 Insured Mail ‘1 Collect on Delivery

 

 

 

* Tonfortomeenice 2013 2250 OOO1 2606 a0a3

PS Form 3871, July 2013 , Domestic Return Receipt

 

 

 

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4. Restricted Delivery? (Extra Fee) Yes |
 

U.S. Department of Justice
. United States Marshals Service

PROCESS RECEIPT AND RETURN

See “Instructions for Service of Process by U.S. Marshal”

 

PLAINTIFF
SE Property Holdings, LLC

DEFENDANT
Unified Recovery Group, LLC, et al

BP DEEPWATER HORIZONS CLAIM CENTER, PO Box 1439
ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

COURT CASE NUMBER

Misc. Action 14-8-KD-M /d-CV-Qo00c I<
TYPE OF PROCESS
garnishment

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE
AT

Hammond, LA 70404-1439 Attn: Third Party Claim Documents

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

=

Gilbert L. Fontenot, Esq.
PO Box 1281
Mobile, AL 36633

L_

Number of process to be
served with this Form 285 | 1

 

Number of parties to be
served in this case 1

 

Check for service
on U.S.A.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (fnelide Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

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please serve by certified mail
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Signature of Attomey othe inator requesting service on behalf off (<] PLAINTIFF TELEPHONE NUMBER DATE eas!
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ea am Cl perenpant — | 251-445-2083 8/5/14 wa

 

 

 

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than one USM 285 is submitted) 3 No. 0 2 No. 05 Be Ee ov Ly

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| hereby certify and return that I UO have personally served oO have legal evidence of service, wt have executed as shown in "Remarks", the process described

on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, ete. shown at the address inserted below.

 

Oo [ hereby certify and retum that [am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (ifnet shown above)

(A person of suitable age and discretion
then residing in defendant's usual place
of abode

 

Address (complete only different than shawn above)

Date Time g
8 18-14 Cl on

Sigdpture of US. Mar or Deputy
MWC UW 2 i

 

 

 

 

fh zg we including endeavors)

 

 

Service Fee Total Mileage Charges] Forwarding Fee

Total Charges

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Advance Deposits

 

Amount owed to U.S. Marshal® or f
(Amount of Refund*)

$0.00

 

 

REMARKS: CerHed mea |

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2, USMS RECORD
3. NOTICE OF SERVICE

1, CLERK OF THE COURT

4, BILLING STATEMENT*: To be retumed to the U.S. Marshal with payment,
if any amount is owed, Please remit promptly payable to U.S. Marshal.
5, ACKNOWLEDGMENT OF RECEIPT

PRIOR EDITIONS MAY BE USED

Form USM-285
Rev. 12/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 10 of 20

  

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item 4 if Restricted Delivery is desired, wes We OD Agent
Print your name and address on the reverse 1 Addresseg

so that we can return the card to you. B. Receivecl by (Printed Name) C._Date of Delivery
@ Attach this card to the back of the mailpiece, Kowms AUGley Jj

or on the front if space permits. & a

: D. Is delivery address different from item 1? [1 Yes

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BP Deepuoter Horizons Claim Center
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p 0. fox | 4 31 3. Service Type
Hammond) »AN0404-1439 1 Certified Mail? 1 Priority Mail Express™

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4, Restricted Delivery? (Extra Fee) o Yas |

2. Article Number 7013 2250 0001 2bob 8050

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PS Form 3811, July 2013 Domestic Return Receipt _
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 11 of 20 (19,
USM-285.is a §-part form. Fill out the iform and print S copies.) Sign’as headed and route as specified below:

       

U.S. Department of Justice

United States Marshals Service PROCESS RECEIPT AND RETURN

See "Instructions for Service of Process by U.S. Marshal"

 

 

PLAINTIFF : / COURT CASE NUMBEI

SE Property Holdings, LLC Misc. Action 14-8- KD- M (4- CV- 0008 KD
DEFENDANT TYPE OF PROCESS

Unified Recovery Group, LLC, et al garnishment

 

 

CENTENNIAL BANK, c/o reg. agent Lyndsay P. Job

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE
ADDRESS (Street or RFD, Apartinent No., City, State and ZIP Code)

2201 West 1st Street, Gulf Shores, AL 36542

 

 

 

 

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285 | 1
Gilbert L. Fontenot, Esq. Number of parties to be
PO Box 1281 served in this case 1
Mobile, AL 36633
Check for service
on U.S.A,
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Ineltrde Business and Alternate Addresses.
All Telephone Numbers, and Estimated Times Available for Service):

Fold

 

 

please serve by certified mail

 

 

ne S/Originator requesting serviceon behalfof: IX] PLAINTIFF TELEPHONE NUMBER DATE
6 oS a e LT. CL) DEFENDANT 251-445-2083 8/5/14

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINES!

 

 

 

 

 

 

 

 

 

 

 

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number of process indicated. Ib Origin Serve . j ‘est
(Sign only for USM 285 if more ; . : mee Nea IU g- =e
than one USM 285 is submitted) 3R No. 03 No. OS GQ. 5 s J2 TY

 

I hereby certify and return that [ CI have personally served O have legal evidence of service, ot have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

(] Thereby certify and return that J am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if not shown above) [1 A person of suitable age and discretion
then residing in defendant's usual place
of abode

Address (complete only different than shown above) Date

 

Time

t A CJ am
6-20- IY TC pm

Service Fee Total Mileage Charges] Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
$ g fe including endeavors) di g pQ- (Amount of Refund*)

 

 

 

 

 

 

 

 

$0.00

 

REMARKS: Coy-+i fied mail
1 003 3110 0005 S1ID& F510

 

PRINT 5 COPIES:

   

1, CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD
3. NOTICE OF SERVICE
4. BILLING STATEMENT?®: To be retumed to the U.S. Marshal with paymeut,
ifany amount is owed. Please remit promptly payable to U.S. Marshal. Fonn USM-285
5. ACKNOWLEDGMENT OF RECEIPT Rey. 12/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 12 of 20

COMPLETE THIS SECTION ON PELIVERY

  
      

& Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

   

OO Agent
OO] Addressee

a ei Ul Print iC] AT 0 of Delivery

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dy Bele Seleieseer ss: If YES, enter delivery address below: OO No

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Clo Lyndsay PS

 

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if €5, AL 36S 4° Cl Registered CO Return Receipt for Merchandise
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4, Restricted Delivery? (Extra Fee) OO Yes
2. Article Number 7003
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PS Form 3811, August 2001 Domestic Return Receipt 102595-01-M-2509

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U.S, Department of Justice
United States Marshals Service

Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 13 of 20
Fill out the form and print § copies,’ Sign as needed and route as specified below,

PROCESS RECEIPT AND RETURN

See "Instructions for Service of Process b

 
    

 
  

LS Marshal"

 

 

PLAINTIFF

 

d . COURT CASE NUMBER

SE Property Holdings, LLC Misc. Action 14-8-KD-M [4 “CY -0008 KD
DEFENDANT TYPE OF PROCESS

Unified Recovery Group, LLC, et al garnishment

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
DIRECT GENERAL LIFE INSURANCE CO., c/o reg, agent National Registered Agents, Inc.

SERVE
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
2 North Jackson Street, Suite 605, Montgomery, AL 36104

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be

 

=

Gilbert L. Fontenot, Esq.
PO Box 1281
Mobile, AL 36633

L

 

served with this Form 285 | 1

 

Number of parties to be
served in this case L

 

Check for service
ou U.S.A.

 

 

 

 

All Telephone Numbers, and Estimated Times Available for Service):
Fold

 

please serve by certified mail

Fold

 

 

Signature of Attorne:

 
 

IX] PLAINTIFF
[] DEFENDANT

“ Originator requesting service on bebalfof—

 

TELEPHONE NUMBER DATE

251-445-2083 8/5/14

 

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE -

  

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Lacknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date ru
number of process indicated. at

(Sign enly for USM 285 if more
than one USM 285 is submitted)

 

 

 

 

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I hereby certify and return that I OO have personally served .O have legal evidence of service, tf nave executed as shown in "Remarks", the process described
on the individual , company, corporation, etc, at the address shown above on the on the individual , company, corporation, etc, shown at the address inserted below.

Olt hereby certify and return that I am unable to locate the individual, company, corporation, ete. named above (See remarks below)

Name and title of individual served (ifnot shown above)

(J A person of suitable age and discretion
then residing in defendant's usual place

 

of abode
Address (complete only different than shown above) Date Time oO
am
6 -[S <} 4 1 pm

 

 

 

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ie — ——

 

 

Service Fee

§ 8.7

Total Mileage Charges) Forwarding Fee
including endeavors)

Total Charges

53.2

Advance Depasits

 

 

 

 

Amount owed to U.S. Marshal* or
(Amount of Refund*)

50.00

 

 

REMARKS: Cech p ed meu |
Jolla 22aSO 900] ALCL LS

 

lodiwecyeelgiosy |. CLERK OF THE COURT

2. USMS RECORD

3. NOTICE OF SERVICE

4. BILLING STATEMENT*: To be returmed to the U.S, Marshal with payment,
ifany amount is owed. Please remit promptly payable to U.S. Marshal,

5. ACKNOWLEDGMENT OF RECEIPT

PRIOR EDITIONS MAY BE USED

Fonn USM-285
Rev. [2/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 14 of 20

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@ Complete items 1, 2, and 3. Also complete

 

item 4 if Restricted Delivery is desired. Oagent = {
@ Print your name and address on the reverse x buna, Wrrvat Cl Addressee _|
so that we can return the card to you. B. Received by (Printed Name)’ |G. Date at Delivery |

 

@ Attach this card to the back of the mailpiece, Ox (5,/ |
or on the front if space permits. :

 

 

D. Is delivery address different from item 1? 1 Yes

1. Article Addressed to: lf YES, enter delivery address below: 0 No

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D1 Insured Mail 1 Collect on Delivery
4. Restricted Delivery? (Extra Fee) DO Yes

 

2. Article Number
(Transfer from s.

?Ol3 2250 0001 2406 8113

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PS Form 3871, July 2013 Domestic Return Receipt —|

 
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Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 15 of 20
USM-285 Is a S-part form. Fill out the form and print’5 copies.’ Sign as needed and route as specified below.

U.S. Department of Justice PROCESS RECEIPT AND RETURN

. United States Marshals Service See "Instructions for Service of Process by U.S. Marshal"

   
 

 
   

 

 

 

PLAINTIFF COURT CASE NUMBER ss

SE Property Holdings, LLC Misc. Action 14-8-KD-M !4-C¥-00008-KD
DEFENDANT TYPE OF PROCESS

Unified Recovery Group, LLC, et al garnishment

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC, TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J CLEAN HARBORS, c/o reg agent CT Corporation System
AT ADDRESS (Street or RFD, Apartment No,, City, State and ZIP Code)

2 North Jackson Street, Suite 605, Montgomery, AL 36104

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Niaakeriof prvcesste be
served with this Form 285 | 1
Gilbert L. Fontenot, Esq. Number of parties tobe
PO Box 1281 served in this case l
Mobile, AL 36633
Check for service
on U.S.A,

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST (N EXPEDITING SERVICE (fuclude Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Fold

 

please serve by certified mail

 

Signature of Attorne

    

Originator requesting serviec on behalf of: [<] PLAINTIFF TELEPHONE NUMBER DATE
PT Clpgrenpant — | 251-445-2083 8/5/14

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l acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date mu
number of process indicated. 1g Origin Serve = P ea
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than one USM 285 is submitted) 2 2 No. 03 No. 6S om Q ¥ é ail AY T

 

I hereby certify and return that I CI have personally served al have legal evidence of service, have executed us shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

C1) thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (ifnot shown above) C1 A person of suitable age and discretion

then residing in defendant's usual place
of abode

Address (complete only different than shown above) Date Time

8-(BAY Cl am

CG of ix ey j Deputy

Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or )

f gw including endeavors) G9 oo (Amount of Refund*)

 

 

 

 

 

 

 

 

 

 

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REMARKS: Ceti fied maeil
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1, CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD

3, NOTICE OF SERVICE
4, BILLING STATEMENT": To be retumed to the U.S. Marshal with payment,

if any amount is owed. Please remit promptly payable to U.S. Marshal, Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT Rev. 12/80

 
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 16 of 20

 
    

 

     

  

       

  
  

a Complete items 1, 2, and 3. Also complete

item 4 if Restricted Delivery is desired. x ¢ Ouma, rye O Agent

 

@ Print your name and address on the reverse CO Addressee |
so that we can return the card to you. B. Received by (Printed Neme) ™ C. Date of Deli
i Attach this card to the back of the mailpiece, my , -lE- ad

 

or on the front if space permits.

 

 

D. Is delivery address different from item 1? 01 Yes

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1. Article Addressed to: !f YES, enter delivery address below: CNo |

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, Zl) oY CO] Certified Mail? (© Priority Mail Express™
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Ci Insured Mail 1 Collect on Delivery
4, Restricted Delivery? (Extra Fee) DO Yes

 

 

2. Article Number 7013 2250 OO01 2bOb 8250

(Transfer from si

 

PS Form 381714, July 2013 Demestic Return Receipt
U.S. Department of Justice
United States Marshals Service

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PROCESS RECEIPT AND RETURN

See “Instructions for Service of Process by U.S. Marshal"

 

 

PLAINTIFF
SE Property Holdings, LLC

COURT CASE NUMBER

Misc. Action 14-8-KD-M (4-C y-pdoor KD

 

DEFENDANT

Unified Recovery Group, LLC, et al

TYPE OF PROCESS
garnishment

 

 

MANHEIM AUCTIONS
ADDRESS (Street or RFD, Apartinent No., City, State and ZIP Code)

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE
AT

5750 Highway 78 East, Birmingham, AL 35210

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to be
served with this Form 285 | 1

 

=

Gilbert L. Fontenot, Esq
PO Box 1281
Mobile, AL 36633

[_

All Telephone Numbers, and Estimated Times Available for Service):

Fold

please serve by certified mail

 

Number of parties to be
served in this case ]

 

Check for service
on U.S.A.

 

 

 

 

 

Signature of Attomey other Originator requesting service on behalf of:

I<] PLAINTIFF
DC DEFENDANT

 

TELEPHONE NUMBER DATE

251-445-2083 8/5/14

 

 

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lacknowledge receipt for the total | Total Process | District of

number of process indicated. , Origin
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(Sign only for USM 285 if more
than one USM 285 is submitted)

 

 

No. 03

District to
Serve

No. O3

 

 

Signature of Authorized USMS Deputy or Clerk Date

Dd Ac |i

 

 

 

I hereby certify and retum that I C7 have personally served O bave legal evidence of service, C1 have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

C] thereby certify and retum that [am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

 

 

 

Name and title of individual served (if nat shown above) C1 A person of suitable age and discretion
then residing in defendant's usual place
of abode
Address (complete only different than shown above) Date Time
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fenature of U.S) Marshal on Deput ,
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Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
including endeavors} we (Aunount of Refund*)

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REMARKS: Ce pd) i ta moz|

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2. USMS RECORD

1, CLERK OF THE COURT

3, NOTICE OF SERVICE
4. BILLING STATEMENT?*: To be retumed to the U.S. Marshal with payment,
if any amount is owed. Please remit promptly payable to U.S, Marshal.

5, ACKNOWLEDGM

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PRIOR EDITIONS MAY BE USED

Form USM-285
Rev. 12/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 18 of 20

 
        

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@ Complete items 1, 2, A. Signature

 

and 3. Also complete
iter 4 if Restricted Delivery is desired. lx YOST O Agent
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so that we can return the card to you. B. Received by (Printed N C. Date of Deli
@ Attach this card to the back of the mailpiece, iiiiiiiniiiiainiiiias 2-\57 Le
or on the front if space permits. J ) / be

 

 

 

D. Is delivery address different from item1? 01 Yes

1. Article Addressed to: If YES, enter delivery address below: CINo

Menheim Auctions
5150 Highutr 78 East
6 rmin ghar~ } AL3S2/0 3. Service Type

C Certified Mail® (1) Priority Mail Express™

2 Registered (i Return Receipt for Merchandise
(J Insured Mail 0 Collect on Delivery

4, Restricted Delivery? (Extra Fee) CD Yes

2. Article Number fO13 2250 OO01 2bOb 82h?

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PS Form 3811, July: 2013 "Domestic Return Receipt
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 19 of 20 Cade
PEA is a 5-part form; Fill out the form and print 5 copies, Sign’as needed and route as specified below.

   

US. Department of Justice PROCESS RECEIPT AND RETURN

~ United States Marshals Service See "Instructions for Service of Process by U.S. Marshal"

 

 

 

PLAINTIFF . COURT CASE NUMBER

SE Property Holdings, LLC Mise. Action 14-8-KD-M (4 (V- 00082 KD
DEFENDANT TYPE OF PROCESS

Unified Recovery Group, LLC, ct al garnishment

 

 

METLIFE INSURANCE COMPANY, c/o reg. agent CT Corporation System

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE
ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

2 North Jackson Street, Suite 605, Montgomery, AL 36104
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

[

Gilbert L. Fontenot, Esq.

 

Number of process to be
served with this Fonn 285 | 1

 

 

Number of parties to be

 

PO Box 1281 served in this case l
Mobile, AL 36633
Check for service
L_ on U.S.A.

 

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (nclude Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Fold Fold

 

please serve by certified mail

 

Signature of Attomey other Originator requesting service on behalf of: [XK] PLAINTIFF TELEPHONE NUMBER DATE

Aa [1 DEFENDANT — | 251-445-2083 8/5/14

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE,

 

 

 

 

 

 

 

 

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number of process indicated. 20 Origin Serve ae

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than one USM 285 is submitted) 32 | o03 | no = Y a & AL -Bl 4

 

 

 

 

I hereby certify and return that I C1 have personally served OO have legal evidence of service, (1 have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

 

CI thereby certify and return that [am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

 

 

 

 

 

 

 

 

 

 

Name and title of individual served (ifnot shown above) oO A person of suitable age and discretion
then residing in defendant's usual place
of abode
Address (comiplete only different than shown above) Date Time oO
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Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to U.S, Marshal* or x
" including endeavors) . (Amount of Refund*)
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REMARKS: Certified maj |
FOZ 22500001 2LOU PQTY
Pivieckeejyiocy |. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED

2. USMS RECORD
3. NOTICE OF SERVICE
4, BILLING STATEMENT?*: To be returned to the U.S. Marshal with payment,
ifany amount is owed. Please remit promptly payable to U.S. Marshal, Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT Rev. 12/80
Case 1:14-mc-00008-KD-MU Document 108 Filed 10/01/14 Page 20 of 20

 
 

‘SENDER:

 
  

& Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

Qunra, / D Agent
®@ Print your name and address on the reverse : 0 Addressee

 

so that we can return the’card to you. B. Received by (Printed Name’ C. Date of Deli
H Attach this card to the back of the mailpiece, , Wed by (Prints v R(t ie
or on the front if space permits. a

 

 

 

D. Is delivery address different from item 1? 11 Yes

1. Article Addressed to: If YES, enier delivery address below: ONo

Met life Trsurance. &.
Cle reg Ggnt
CT Cer porétionr Spy Stern

3. Service Type

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(J Registered C1 Return Receipt for Merchandise

 

 

 

 

 

 

 

 

Montoomery »)4l Sv 10Y 1 Insured Mait 1Collect on Delivery
. 4. Restricted Delivety? (Extra Fee) ves
2. Article Number 70135 2250 0001 2LOk 8274
(Transfer from Sean. 7

 

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PS Form 38114, July 2013 , Domestic Return Receipt
